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                       EXHIBIT B

                Steven Simms Declaration
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         )    Chapter 11
                                                               )
FTX TRADING LTD., et al.,1                                     )    Case No. 22-11068 (JTD)
                                                               )
                                    Debtors.                   )    (Jointly Administered)

           DECLARATION OF STEVEN SIMMS IN SUPPORT OF THE
        APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION
         AND EMPLOYMENT OF FTI CONSULTING, INC. AS FINANCIAL
     ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

Pursuant to 28 U.S.C. section 1746, Steven Simms, declares as follows:

         1.      I am a Senior Managing Director with FTI Consulting, Inc. ( “FTI”)2, an

international consulting firm. I submit this declaration (the “Declaration”) on behalf of FTI in

support of the application (the “Application”) of the Official Committee of Unsecured Creditors

(the “Committee”) of the above-captioned debtors and debtors-in-possession (collectively, the

“Debtors”), for entry of an order authorizing the employment and retention of FTI as financial

advisor to the Committee under the terms and conditions set forth in the Application. I am

generally familiar with the Bankruptcy Code and the Bankruptcy Rules. Except as otherwise noted,

I have personal knowledge of the matters set forth herein, and, if called as a witness, I would testify

thereto.3




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
2
    Professionals employed by certain subsidiaries of FTI will also be used in the engagement.
3
    Certain of the disclosures herein relate to matters within the personal knowledge of other professionals at FTI
    and are based on information provided by them.



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                                    Disinterestedness and Eligibility

        2.       In connection with the preparation of this Declaration, FTI conducted a review of

its contacts with the Debtors, their affiliates, and certain entities holding large claims against, or

equity interests in, the Debtors that were made reasonably known to FTI. A listing of the parties

reviewed is reflected on Exhibit A to this Declaration. FTI’s review, completed under my

supervision, consisted of a query of the Exhibit A parties within an internal computer database4

containing names of individuals and entities that are present or recent former clients of FTI. A

listing of such relationships that FTI identified during this process is set forth on Exhibit B to this

Declaration.

        3.       Based on the results of its review, except as otherwise discussed herein, FTI does

not have a relationship with any of the parties on Exhibit A in matters related to the Debtors or

these proceedings. FTI has provided, and could reasonably expect to continue to provide, services

unrelated to the Debtors’ cases for the various entities shown on Exhibit B. FTI’s assistance to

these parties has been related to providing various financial restructuring, litigation support,

technology, strategic communications, and economic consulting services. To the best of my

knowledge and except as otherwise disclosed herein, no services have been provided to these

parties in interest that involve their rights in the Debtors’ cases, nor does FTI’s involvement in

these cases compromise its ability to continue such consulting services.

        4.       In addition to the relationships disclosed on Exhibit B, FTI discloses the following:

                    Subsequent to the Petition Date, the Debtors hired a subsidiary of FTI, FTI
                     Consulting Technology, LLC (“FTI Technology”), to provide certain electronic
                     data technology support services (the “Technology Engagement”). For the
                     avoidance of doubt, FTI Technology is acting as a vendor for the Debtors in
                     performing administrative and ministerial services and is not providing any
                     advisory or investigative or other professional services to the Debtors. FTI

4
    For the avoidance of doubt, FTI’s computer database covers FTI Consulting, Inc. and its wholly owned
    subsidiaries globally.


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    Technology charges data collection fees, monthly hosting charges, user
    licensing fees, hourly rates, as well as charges for processing documents or
    other electronically stored information. FTI Technology had no connections
    with the Debtors prior to the Petition Date.

       o To maintain the confidentiality of the client information in connection
         with FTI’s engagement on behalf of the Committee (the “FTI
         Committee Engagement”), FTI has implemented and will maintain the
         following procedures:

              no FTI personnel working on the Technology Engagement
               (“Technology Engagement Personnel”) will have been, or will be, a
               part of the FTI team advising the Committee;

              each member of the FTI Committee Engagement (collectively, the
               “FTI Committee Personnel”) and each member of the Technology
               Engagement shall acknowledge in writing that he or she has
               received or may receive certain nonpublic information and that he
               or she is aware of the ethical wall in effect and will follow the ethical
               wall procedures described herein;

              FTI Committee Personnel will not directly or indirectly share any
               nonpublic information generated by, received from, or relating to
               the FTI Committee Engagement with Technology Engagement
               Personnel, and Technology Engagement Personnel will not directly
               or indirectly share any nonpublic information generated by, received
               from or relating to the Technology Engagement, with FTI
               Committee Personnel, except that a good-faith communication of
               publicly available information shall not be presumed to be a breach
               of the obligations of FTI or any FTI Committee Personnel or
               Technology Engagement Personnel;

              FTI has established electronic internal security walls to ensure that
               (a) only FTI Committee Personnel have access to the information,
               databases, e-mails, schedules, or any other information relating to
               the FTI Committee Engagement and (b) only Technology
               Engagement Personnel have access to the information, databases, e-
               mails, schedules, or any other information relating to the
               Technology Engagement;

              Consistent with its ordinary course compliance practice, FTI’s
               Information Technology Security personnel will routinely monitor
               communications through electronic means among the FTI
               Committee Personnel and the Technology Engagement Personnel to
               ensure compliance with these ethical wall procedures;

              FTI will disclose to counsel for the Debtors, counsel for the


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                                  Committee, and the United States Trustee any material breaches of
                                  these ethical wall procedures. If FTI ceases to act as advisor to the
                                  Committee, it will continue to follow the procedures set forth above
                                  until a plan has been confirmed in the Debtors’ chapter 11 cases or
                                  these chapter 11 cases have been converted or dismissed.

                    As the Court is aware, the vast majority of the Debtors’ creditors are individual
                     customers who maintained accounts with the Debtors. These individual
                     customers include certain current FTI employees (collectively, the “FTX
                     Account Holder Employees”). The FTX Account Holder Employees will not
                     render services for the Committee in connection with the FTI Committee
                     Engagement. Furthermore, under the ethical wall procedures set forth above,
                     FTX Account Holder Employees will not have access to confidential
                     information related to the FTI Committee Engagement or Technology
                     Engagement.

                    The Official Committee of Unsecured Creditors (the “Voyager Committee”)
                     appointed in the chapter 11 cases of Voyager Digital Holdings, Inc. and its
                     affiliated debtors and debtors in possession (collectively, the “Voyager
                     Debtors”)5 selected FTI as its financial advisor (the “Voyager Committee
                     Engagement”). The Voyager Committee Engagement is unrelated to the
                     Debtors and these chapter 11 cases. Notwithstanding the foregoing, the Debtors
                     and the Voyager Debtors are creditors of one another. As such, FTI personnel
                     will not participate in any particular matter involving a dispute between the
                     Debtors and the Voyager Debtors.

                    FTI subsidiary, FTI Consulting (SC), Inc., is engaged by Binance Holdings Ltd.
                     d/b/a Binance to provide ongoing public affairs and issues management support
                     services. In addition, FTI’s United Kingdom subsidiary, FTI Consulting LLP is
                     engaged by Bifinity UAB, an affiliate of Binance, to provide certain financial
                     advisory and consulting services. None of FTI’s engagements for Binance or
                     its affiliates relate to the Debtors or their chapter 11 cases.

                    FTI Technology has been hired by Celsius Network LLC (“Celsius”) as a
                     vendor to provide certain electronic data technology support services. As with
                     the Technology Engagement, FTI Technology is performing administrative and
                     ministerial services for Celsius and is not providing any advisory or
                     investigative or other professional services to Celsius.

                    One of the individuals listed as a director/officer of one or more of the Debtors
                     on Exhibit A (Name on File)6, is a current client of FTI subsidiary, FTI
                     Consulting Germany GmbH, on matters unrelated to the Debtors.


5
    The Voyager Debtors’ chapter 11 cases are pending in the United States Bankruptcy Court for the Southern
    District of New York and are being jointly administered under Case No. 22-10943.
6
    The identity of this individual is redacted on the parties-in-interest list provided by the Debtors.


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                  It is my understanding that American Express Company is a vendor of the
                   Debtors. Laureen E. Seeger, a member of the board of directors of FTI
                   Consulting, Inc. is currently chief legal officer of American Express Company.
                   To the best of my knowledge, Ms. Seeger does not have any professional
                   involvement in this matter in any capacity.

                  It is my understanding that Hilton is a vendor of the Debtors. Brenda J. Bacon,
                   a member of the board of directors of FTI Consulting, Inc. is currently a
                   member of the board of directors of Hilton Grand Vacations, Inc. To the best of
                   my knowledge, Ms. Bacon does not have any professional involvement in this
                   matter in any capacity.
       5.      As part of its diverse practice, FTI appears in numerous cases, proceedings, and

transactions that involve many different professionals, including attorneys, accountants, and

financial consultants, who may represent claimants and parties-in-interest in the Debtors’ chapter

11 cases. Also, FTI has performed in the past, and may perform in the future, advisory consulting

services for various attorneys and law firms, and has been represented by several attorneys and

law firms, some of whom may be involved in these proceedings. In addition, FTI has in the past,

may currently, and will likely in the future be working with or against other professionals involved

in these chapter 11 cases in matters unrelated to the Debtors and these cases. Based on our current

knowledge of the professionals involved, and to the best of my knowledge, none of these

relationships create interests adverse to the Debtors’ estates and none are in connection with the

Debtors’ chapter 11 cases.

       6.      FTI is not a “creditor” of any of the Debtors within the meaning of Bankruptcy

Code section 101(10). Further, neither I, nor any other member of the FTI engagement team

serving the Committee, to the best of my knowledge, (a) is a creditor, equity security holder, or

insider of the Debtors; (b) is or has been within two years before the Petition Date, a director,

officer, or employee of the Debtors; or (c) has any interest materially adverse to the interests of

the Debtors’ estates or of any class of creditors or equity security holders, by reason of any direct

or indirect relationship to, connection with, or interest in, the Debtors, or for any other reason. As


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such, to the best of my knowledge, and based upon the results of the relationship search described

above and disclosed herein, FTI (i) is a “disinterested person” as defined in Bankruptcy Code

section 101(14) and (ii) does not hold or represent any interest materially adverse to the Debtors’

estates.

           7.    For all of the foregoing reasons, FTI believes it is eligible to represent the

Committee under Bankruptcy Code section 1103(b).

           8.    It is FTI’s policy and intent to update and expand its ongoing relationship search

for additional parties in interest in an expedient manner. If any new material relevant facts or

relationships are discovered or arise, FTI will file a supplemental declaration pursuant to

Bankruptcy Rule 2014(a).

                                    Professional Compensation

           9.    Subject to Court approval and in accordance with the applicable provisions of the

Bankruptcy Code, Bankruptcy Rules, the local rules of this District, orders of this Court, and

applicable U.S. Trustee guidelines, FTI will seek payment for compensation on an hourly basis,

plus reimbursement of actual and necessary expenses incurred by FTI, including legal fees related

to the preparation of the Application (if any) and periodic fee applications, as approved by the

Court. FTI’s customary hourly rates as charged in bankruptcy and non-bankruptcy matters of this

type by the professionals assigned to this engagement are outlined in the Application. These hourly

rates are adjusted periodically, typically on an annual basis. I believe that the fee structure as set

forth in the Application is reasonable and comparable to those generally charged by financial

advisors and consultants of similar stature to FTI for comparable engagements, both in and out of

chapter 11.




                                                  6
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       10.     To the extent FTI utilizes independent or third-party contractors or subcontractors

(the “Contractors”) in the provision of services to the Committee, FTI will (i) pass through the fees

of such Contractors at the same rate that FTI pays the Contractors and (ii) seek reimbursement for

actual costs of the Contractors only. In addition, FTI will ensure that each Contractor will file a

separate declaration evidencing its disinterestedness in these chapter 11 cases as required by the

Bankruptcy Code and Bankruptcy Rules.

       11.     According to FTI’s books and records, during the ninety (90) days before the

Petition Date, FTI did not receive any payments from the Debtors.

       12.     To the best of my knowledge, (a) no commitments have been made or received by

FTI with respect to compensation or payment in connection with its proposed services as financial

advisor to the Committee in these cases other than in accordance with the provisions of the

Bankruptcy Code and (b) FTI has no agreement with any other entity to share with such entity any

compensation received by FTI in connection with these chapter 11 cases.

                                   No Duplication of Services

       13.     The Committee and FTI intend that FTI’s services will be appropriately directed by

the Committee so as to avoid duplication of efforts among the other professionals retained by the

Committee in these chapter 11 cases and performed in accordance with applicable standards of the

profession. FTI will work collaboratively with the Committee’s other professionals to avoid

duplication of services among professionals. I believe that the services to be provided by FTI will

complement and will not be duplicative of any services of the Committee’s other professionals.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 11, 2023.                   /s/ Steven Simms
                                              Steven Simms




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                                                  EXHIBIT A


Listing of Parties-in-Interest Reviewed for Current and Recent Former Relationships1


Debtors                                                       FTX Digital Assets LLC
Alameda Aus Pty Ltd                                           FTX Digital Holdings (Singapore) Pte Ltd
Alameda Global Services Ltd.                                  FTX EMEA Ltd.
Alameda Research (Bahamas) Ltd                                FTX Equity Record Holdings Ltd
Alameda Research Holdings Inc.                                FTX EU Ltd.
Alameda Research KK                                           FTX Europe AG
Alameda Research LLC                                          FTX Exchange FZE
Alameda Research Ltd                                          FTX Hong Kong Ltd
Alameda Research Pte Ltd                                      FTX Japan Holdings K.K.
Alameda Research Yankari Ltd                                  FTX Japan K.K.
Alameda TR Ltd                                                FTX Japan Services KK
Alameda TR Systems S. de R. L.                                FTX Lend Inc.
Allston Way Ltd                                               FTX Marketplace, Inc.
Analisya Pte Ltd                                              FTX Products (Singapore) Pte Ltd
Atlantis Technology Ltd.                                      FTX Property Holdings Ltd
Bancroft Way Ltd                                              FTX Services Solutions Ltd.
Blockfolio, Inc.                                              FTX Structured Products AG
Blue Ridge Ltd                                                FTX Switzerland GmbH
Cardinal Ventures Ltd                                         FTX Trading GmbH
Cedar Bay Ltd                                                 FTX Trading Ltd
Cedar Grove Technology Services, Ltd                          FTX Turkey Teknoloji Ve Ticaret Anonim
Clifton Bay Investments LLC                                   Şirket
Clifton Bay Investments Ltd                                   FTX US Services, Inc.
Cottonwood Grove Ltd                                          FTX US Trading, Inc
Cottonwood Technologies Ltd.                                  FTX Ventures Ltd
Crypto Bahamas LLC                                            FTX Zuma Ltd
DAAG Trading, DMCC                                            GG Trading Terminal Ltd
Deck Technologies Holdings LLC                                Global Compass Dynamics Ltd.
Deck Technologies Inc.                                        Good Luck Games, LLC
Deep Creek Ltd                                                Goodman Investments Ltd.
Digital Custody Inc.                                          Hannam Group Inc
Euclid Way Ltd                                                Hawaii Digital Assets Inc.
FTX (Gibraltar) Ltd                                           Hilltop Technology Services LLC
FTX Canada Inc                                                Hive Empire Trading Pty Ltd
FTX Certificates GmbH                                         Innovatia Ltd
FTX Crypto Services Ltd.                                      Island Bay Ventures Inc
1
 Certain names are redacted pursuant to the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated
List of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors to Redact or
Withhold Certain Confidential Information of Customers and Personal Information of Individuals on an Interim Basis
and (III) Granting Certain Related Relief [D.I. 157], which was extended by the Court on January 11, 2023.

                                                                                                             Page 1
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Killarney Lake Investments Ltd                   Caroline Papadopoulas
Ledger Holdings Inc.                             Charis Law
Ledger Prime LLC                                 Name on File
LedgerPrime Bitcoin Yield Enhancement            Name on File
Fund, LLC                                        Constance Wang
LedgerPrime Bitcoin Yield Enhancement            Corporate & Trust Services Limited
Master Fund                                      Dan Friedberg
LedgerPrime Digital Asset Opportunities          Name on File
Fund, LLC                                        Diana Aidee Munoz Maclao De Camargo
LedgerPrime Digital Asset Opportunities          Edward Moncada
Master Fund LP                                   Gary Wang
LedgerPrime Ventures, LP                         Name on File
Liquid Financial USA Inc.                        Name on File
Liquid Securities Singapore Pte Ltd.             Name on File
LiquidEX LLC                                     Name on File
LT Baskets Ltd.                                  Jen Chan
Maclaurin Investments Ltd.                       Name on File
Mangrove Cay Ltd                                 Name on File
North Dimension Inc                              Name on File
North Dimension Ltd                              John J. Ray
North Wireless Dimension Inc                     John Samuel Trabucco
Paper Bird Inc                                   Jonathan Cheesman
Pioneer Street Inc.                              Joseph J. Farnan
Quoine India Pte Ltd                             Name on File
Quoine Pte Ltd                                   Name on File
Quoine Vietnam Co. Ltd                           Name on File
SNG INVESTMENTS YATIRIM VE                       Kariya Kayamori
DANIŞMANLIK ANONİM ŞİRKETİ                       Name on File
Strategy Ark Collective Ltd.                     Name on File
Technology Services Bahamas Limited              Larry Thompson
Verdant Canyon Capital LLC                       Name on File
West Innovative Barista Ltd.                     Name on File
West Realm Shires Financial Services Inc.        Luk Wai Chan
West Realm Shires Inc.                           Name on File
West Realm Shires Services Inc.                  Name on File
Western Concord Enterprises Ltd.                 Name on File
Zubr Exchange Ltd                                Mark Wetjen
                                                 Name on File
Director/Officer                                 Name on File
Name on File                                     Name on File
Name on File                                     Matt Rosenberg
Andy Fisher                                      Matthew Doheny
Arthur Thomas                                    Matthew Ness
Name on File                                     Name on File
Name on File                                     Name on File
Name on File                                     Name on File
Can Sun                                          Michael McCarty
Caroline Ellison                                 Michael Watson

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Name on File                                    Ashely M. Chan
Mitch Sonkin                                    Brendan L. Shannon
Name on File                                    Craig T. Goldblatt
Name on File                                    John T. Dorsey
Name on File                                    Karen B. Owens
Nishad Singh                                    Kate Stickles
Name on File                                    Laurie Selber Silverstein
Name on File                                    Mary F. Walrath
Name on File                                    Una O'Boyle (Clerk of Court)
Name on File
Name on File                                    Bankruptcy Professionals
Rishi Jain                                      AlixPartners, LLP
Name on File                                    Alvarez & Marsal North America, LLC
Ryan Salame                                     Bahamian Counsel
Ryne Miller                                     Ernst & Young
Samuel Bankman-Fried                            Kroll Restructuring Administration
Name on File                                    Landis Rath & Cobb LLP
Serhat Aydin                                    Perella Weinberg Partners
Name on File                                    Quinn Emanuel Urquhart & Sullivan, LLP
Shiliang Tang                                   Robert Lee & Associates, LLP
Name on File                                    Simpson Thacher & Bartlett LLP
Sina Nader                                      Sullivan & Cromwell LLP
Name on File
Takashi Hidaka                                  Banks/Lender/UCC Lien
Name on File                                    Parties/Administrative Agents
Terence Choo                                    AKBANK
Name on File                                    Apple Business
Venu Palaparthi                                 Bank of America
Wang Zhe                                        Bank of Cyprus
Wing Man Charis Law (Charis Law)                BCB Bank
Wong Jing Yu                                    BMO Harris Bank, N.A.
Name on File                                    Circle Internet Financial, Inc.
Zach Dexter                                     Commercial Bank of Dubai
Zhe Wang                                        Commercial Bank of Vietnam
                                                Customers Bank
5% or More Equity Holders                       DBS Bank Limited
Edward Moncada                                  Deltec
Nishad Singh                                    ED&F Man Holdings Inc.
Name on File                                    Emirate NBD Bank
Samuel Bankman-Fried                            Equity Bank
Zixiao Wang                                     Etana
                                                Eurobank
Ad Hoc Committee (Non-US Customers of           Evolve Bank and Trust
FTX.com)                                        Far Eastern Int'l Bank
Eversheds Sutherland (US) LLP                   Fibabanka
Morris, Nichols, Arsht & Tunnell LLP            Fidelity Bank (Bahamas)
                                                Garanti BBVA
Bankruptcy Judges                               Goldfields Money

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HDFC Bank                                     AIM Sports, LLC
HSBC Bank                                     Name on File
Interactive Brokers                           Name on File
JPMorgan Chase Bank, N.A.                     Name on File
Jtrust Bank                                   Alpaca Crypto LLC
Klarpay                                       AlteumX International S.A.
LendingClub                                   Name on File
Maerki Baumann & Co. AG                       Name on File
Moneytech                                     Name on File
Moonstone Bank                                Name on File
Morgan Stanley                                Barstool Sports Inc.
MUFG Bank, LTD.                               Billboard Media, LLC
National Australia Bank                       Binance Capital Management Co. Ltd.
Nium                                          BitGo
Nuvei                                         BITOCTO
Octabase                                      BlockFi Inc.
Omipay / Cuscal                               Brandon Williams
PayPay Bank                                   Brave Software International SEZC
Paysafe                                       Name on File
Prime Trust LLC                               Cal Athletics
Rakuten Bank                                  Chainalysis
RJ O'Brien                                    Coachella Music Festival, LLC
SBI Sumishin Net Bank Ltd.                    David Ortiz
Signature Bank                                David Ortiz Children’s Fund
Signet                                        Name on File
Silicon Valley Bank                           Diego Perez de Ayala
Silvergate Bank                               Digital Assets DA AG
Siraat Banksai                                Digital Finance Group Company
Standford Credit Union                        Dolphin Entertainment, Inc.
Strait X                                      Name on File
Stripe                                        Elvia Delgadillo
Sumitomo Mitsui Banking Corporation           Exodus Movement, Inc.
(SMBC)                                        Fortune Cookie
Swapforex                                     Fox Sports Sun, LLC
Tokyo Star Bank                               Name on File
Transactive                                   FTI Consulting, Inc.
Transfero                                     Furia ESports LLC
Turicum                                       Galois Capital
Vakifbank                                     Gisele Caroline Bündchen
Volksbank Bayern Mitte eG                     Golden State Warriors
Washington Business Bank                      Gpay Network Pte. Ltd.
Wells Fargo                                   Growflint Technologies Pvt. Ltd.
Western Alliance                              HashKey Blockchain Investment Fund
Zand Bank                                     HODL Media, Inc.
                                              ICC Business Corporation FZ LLC
Contract Counterparties                       Idealex Services OU
AC Revocable Trust                            IEX Group, Inc.
Adresana Limited                              iVest+

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Name on File                                   Riot
Name on File                                   Name on File
Jeremy Cranford                                SC30 Inc.
Name on File                                   Name on File
Joele Frank                                    Shohei Ohtani
Kariya Kayamori                                Name on File
Name on File                                   Stephen Curry
Kevin O'Leary                                  StockTwits, Inc.
Name on File                                   Swift Media Entertainment, Inc
Larnabell Enterprises Limited                  Sygnia Consulting
Laura Larissa Hanna                            The MLB Network, LLC
Ledger SAS                                     The Sequoia Fund, L.P.
Lightspeed Management Company, LLC             Thoma Bravo
Lincoln Holdings LLC                           TL International BV
Lorem Ipsum UG                                 TokenBot International Ltd.
Name on File                                   Tom Brady
Name on File                                   TradingView Inc
Major League Baseball Clubs                    Trevor Lawrence
Major League Baseball Properties, Inc          TrustToken
Mark Khalil                                    Twig USA Inc
Medium Rare Live, LLC                          Udonis Haslem
Meow Technologies Inc.                         UJH Enterprises
Mercedes-Benz Grand Prix Limited               Veridian Development Group Ltd.
Name on File                                   Yahoo Inc.
MLB Advanced Media, L.P                        Yuga Labs, Inc.
MMBOC, LLC
Monumental Sports & Entertainment              Customers
MPG Live Ltd                                   Customer Names Provided by the Debtors
Multicoin Capital                              are on File and Redacted Pursuant to Court
Naomi Osaka                                    Order (See footnote 1 of this Exhibit)
Nardello & Co. LLC
O’Leary Productions Inc.                       Donations
Office of the Commissioner of Baseball         Actblue
Paradigm Connect Asia Pte. Ltd.                Name on File
Patrick Gruhn                                  Name on File
Paul Forest                                    Name on File
Paxos Trust Company, LLC                       amfAR
Name on File                                   Arbor Day Foundation
Play Magnus Group                              Atlas Center LTD
PointUp Inc.                                   Berkley Existential Risk Initiative
Proper Trust AG                                Black Girls Code
PT Datindo Infonet Prima                       Boys & Girls Club
Race Capital                                   Care for Special Needs Children Foundation
Radegen Sports Management LLC                  Name on File
Rebecca Lowe                                   Center For A New American Security
Reddit, Inc.                                   Center for Effective Altruism
Ribbit Capital                                 Challenged Athletes Foundation
Rick Fox                                       Name on File

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Clinton Health Access                            Name on File
Coachella- FIND Food Bank                        Seattle Approves
Name on File                                     Name on File
Name on File                                     Spartz Philanthropies
David Ortiz Children's Fund                      St. Jude Children's Hospital
Name on File                                     Stanford School of Medicine
Eat.Learn.Play                                   Stanford University
Eldera, Inc.                                     Stanford University Development
Name on File                                     Name on File
Name on File                                     Name on File
Name on File                                     The Center for Election
Name on File                                     The Urban Alliance Foundation, Inc
Flourishing Humanity Corporation                 Name on File
Food on Foot                                     Toby Shevlane
FTX Foundation, Inc.                             Turner 2 Foundation
GWWC                                             Name on File
Honnold Foundation                               UC Berkeley Foundation
Hurry Up Slowly                                  Udonis Haslem Childrens Foundation
Name on File                                     UNICEF
Name on File                                     University of Central
Name on File                                     Name on File
Name on File                                     Name on File
Name on File
Name on File                                     Insurance
Name on File                                     Ascot Insurance Company
Laureus Sport for Good                           Continental Casualty Company
Name on File                                     Endurance Worldwide Insurance Ltd.
Majority Forward                                 HDI Global Specialty SE
Managed Funds Association                        Lloyd’s America, Inc.
Name on File                                     Massachusetts Bay Insurance Company
Name on File                                     Paragon International Insurance Brokers
Name on File                                     Limited
Name on File                                     QBE Insurance Corporation
Name on File                                     Relm Insurance Ltd.
Name on File                                     StarStone National Insurance Company
Montreal Children's Foundation                   The Hanover Insurance Group
National Council of Social Service               The Travelers Insurance Company
New Jersey Scholars                              Travelers Property Casualty Company of
Neworld One Bay Street - Margaritaville          America
Beach Resort Nassau                              United Fire Group
Name on File                                     USI Insurance Services, LLC-CL
No Kid Hungry                                    Zurich Insurance Plc
Nor Cal Student Athletes
Northeastern University                          Investments/Acquisitions
Peligrad Jewelry LLC                             1Inch
Name on File                                     3Commas Technologies
RESource D.C                                     42 Labs Inc
Rethink Priorities                               5D

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6529 NFT Fund                                  Blockbeats News
6th Man Ventures Fund                          Blockchain Space
80 Acres                                       Blocto
Acala                                          Blue Horizon Global Corp
AFK Ventures LLC                               Bluebook Cities
Name on File                                   Bond Fund III
Alder Labs                                     Bonzai Finance
Alethea                                        Bridge Technologies (BRG Token)
Aligned AI                                     Brinc Drones
Altimeter Growth Partners Fund VI, L.P.        Browder Capital
Alvea, LLC                                     BTC Africa, S.A.
Anchorage                                      Burnt
Ancient8                                       Buzz Development Inc
AngelList                                      Canonical Crypto Fund
Anthropic                                      Cardinal (Nexus Pro)
Anysphere Inc                                  Causal Inc
Aptos                                          CCAI / Aldin
Arcana                                         Cega Pte Ltd
Archax                                         Celesita Network
Arnac                                          Ceres Protocol Inc
Arrow                                          Change Up
Artemis                                        chillchat
Asymmetric Technologies LP                     China V Investors L.P.
ATMTA, Inc.                                    China Venture Capital Fund
ATMTA, Inc. / Star Atlas                       Chingari
Atomic Vaults                                  Chipper Cash
ATTN (EVOSverse)                               Circle Internet Financial, Inc.
Auradine, Inc.                                 Clover, Inc.
Aurigami                                       Coderrect Inc.
Aurory                                         Cogni
Autograph                                      Coin98
Automata                                       Coinfeeds
Avara Labs / LENS                              CoinMARA
AVECRIS Research Corporation Pte. Ltd.         Collide Capital Fund I
(Project Door)                                 Com2Us
Aver Protocol                                  Composable
Axelar Network                                 Compound Financial
Axie Infinity                                  Concurrent C Inc
AZA Finance                                    Confirm Solutions Inc
Bastion / Bengine, Inc.                        Conjecture
BetDEX                                         Connect3
BetDEX                                         Consensys
BiLira (Series A - Class E)                    Critical Ideas Inc.
Bitmain Fund L.P.                              Critical Ideas, Inc.
Bitnob Technologies                            Cryowar
Bitnomial                                      Cryptomind Lab Pte. Ltd
BitOasis                                       Curated
Bitocto (exchange Indo) / PT Triniti           DaoSqaure

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Darkfi                                         Few and Far
Dave Inc                                       Figma Inc
decimated                                      Float Capital / Rubin Global Ltd
Defi                                           Flourishing Humanity Corporation Ltd
Defi Alliance                                  Fluence Labs
Delphia Holdings Corp                          Friktion
Delta One                                      Frosted Inc
Delysium                                       Fuel / Layer-2 Development Corp.
Digital Assets DA AG                           FYI.FYI, Inc
Distributed Ledger Technology                  Galaxy Protocol (Galxe)
DLT Climate Tech                               GamerGains
Docsi18n                                       GamesPad
DoDo                                           Genesis Digital Assets Limited
DoinGud                                        Geniome (FBH Corporation)
DoNotPay                                       Genopet / Witty Elite Limited
Doodles                                        GetMati
Doppel Inc                                     GetPIP Web3.0 / Prime Round Ltd
Dorahack                                       GGX Protocol Limited / GGX Token
Drift                                          Global Illumination
DriveWealth                                    GOG (Guild of Guardians)
Dropp                                          GuildFi / Cryptomind Lab Pte. Ltd
Dtrade                                         Harbor Systems Inc
Dune Analytics                                 Hashflow / Qflow
Dust Labs, Inc                                 Hawku
edenbrawl                                      HedgeHog
EFAS / Kepler Space Industries                 Helix Nanotechnologies
Efficient Frontier / Odyssey Technologies      Hidden Road Inc
Limited                                        HODL
Eizper Chain                                   HOLE Tokens
Elementus                                      http://Contxts.io / NFT Bank
Elumia                                         http://Solsniper.xyz (Sniper Labs)
Enigma MPC, Inc.                               http://tsm.gg/ (Swift Media Entertainment
Entropy Protocol Ltd.                          Inc)
Equator Therapeutics                           http://wum.bo/
EquiLibre Tecnologies Inc.                     https://syndica.io/
Ethereal Ventures Fund I LP                    HyperNative Inc
Euclid Labs                                    IEX
Euclid Labs / Magic Eden Secondary Shares      ImmutableX Token Prorata
Euler                                          Impossible Finance
Evme Inc                                       Incite Technologies Inc
Exodus                                         Innovatia Ltd
exotic / Pier3 Ventures Limited                IO Finnet
Exponent Founders Capital I, LP                IOSG Fund II LP
Exponential DeFi Inc                           IP3 Cripco (Line Friends)
FairSide                                       Ivy Natal
Fanatics                                       Jafco SV4 Investment Limited
Faraway                                        Jambo / Project Chill Limited
Fern Labs Inc                                  Jet Protocol

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Jet Tech                                      Mavia
Jito Labs Inc                                 MCDEX
JoePEGS NFT Project                           MEOW
Juiced / Basis Yield Corp                     Mercurial
JUMBO.EXCHANGE                                Merge Holdings Lte
Juppiomenz                                    Messari
JustWontDie Ltd                               MetaLink
K5 Global                                     Metaplex
Kailaasa Infotech Pte Ltd                     MetaTheory
Kariya Kayamori                               Metaversus / Combat Lab, Inc
Katana Labs / Blade Labs Inc                  Mina
Kepler Space Industries                       Mirror World
Keygen Labs, Inc                              MobileCoin
Kollider                                      Modulo Capital Inc
Kos Therapeutics Inc                          Mojo
Kraken Ventures Fund I LP                     Momentum Safe Inc
Kresus                                        MONACO / BetDEX / Stramash Protocol
KTR Group Corporation                         Ltd.
KUROSEMI INC.                                 Monaco Protocol
Kwil Inc                                      Monkey Kingdom / Kingdom Metaverse
Lab3 Technology Limited                       Limited
Lake Nona Fund / LN Sports & Health Tech      MonkeyBall
Fund I, LP                                    Mount Olympus Capital LP
LayerZero                                     Move Labs
LayerZero Labs Ltd                            MPL
Lemon Cash                                    Multicoin Venture Fund II
Lexidus                                       Multicoin Venture Fund III
Lido                                          MultiSafe/ Coinshift
Lifelike Capital                              Mysten Labs
Lightspeed Faction                            Mythical Games
Limit Break                                   Mythos tokens
Liquality                                     Nas Education Pte Ltd
Liquid 2 Venture Fund III L.P.                NEAR
Liquid Group Inc                              Nestcoin
Liquid Value Fund I LP                        New Gen Minting LLC
Liquity                                       Nexus Pro Inc.
LiveArtX                                      Nifty Island
Loan Transactions and Technology LLC /        Nod Labs, Inc.
Edge Tradeworks                               NodeGuardians
Lonely Road                                   Nural Capital
Luxon / LXN                                   O'daily News
Magic Eden                                    Offchain Labs
Magic Eden Secondary Shares                   Only1
Name on File                                  Open Loot Ecosystem Fund I Ltd.
Manifold Markets                              Optim
Manta                                         Orderly
Mask Network / MASKBOOK                       OTC Service Ltd / OTC Service AG
Matonee Inc                                   OTOY International

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OVEX                                               SahiCoin
Owner.com                                          Salad Ventures Ltd
Pacer                                              Samudai
Pangea Cayman Fund I Ltd                           Samuel Bankman-Fried
Paradigm One (Cayman) Feeder LP                    Satori Research
Parallel Finance                                   Scopely
Parastate                                          SEBA Bank
Paraswap                                           SECRET Network
Paxos                                              SECRET Network / Enigma MPC, Inc.
Pembrock                                           SecureSave
Perion                                             Senate
Perion / Buzz Development Inc                      Sequoia Capital Fund, L.P.
Phastasia                                          SH Fund, LP
Pine Protocol Inc.                                 Sherlock Bioscience
Pionic (Toss)                                      Sidus
Pixelynx                                           SifChain
PlanetQuest                                        Sintra
Platform Lifesciences Inc                          Sipher
Play Up                                            Size
Point                                              Sky Mavis
Point Up                                           Sky Mavis (Axie Infinity)
Polygon Network                                    Skybridge
Pontem Network                                     Slope
Pontis - ZK Oracle (42 Labs Inc)                   Snickerdoodle Labs
Port Finance / Contrarian Defi LLC                 Soba Studios / Good Game Inc
Pragma                                             SOJ Trading Ltd
Protego                                            SOJ Trading Ltd (JoePEGS NFT Project)
Pstake                                             Solana Restricted Token Purchase
Psyoption                                          SolCial / Social Research
QP-Fund I, a series of Generalist Capital, LP      Solend
Questbook / CreatorOS                              Solend / Concurrent C Inc
Race Capital II                                    SolFarm
Rainmaker                                          Solice
Ratio Finance                                      Solidus
Rebittance (SCI)                                   Solrise
Receipts Depositary Corporation                    Solscan
Red Sea Research                                   SolStarter
REF                                                Solutions Lab Consultancy Pte Ltd
Rejuveron                                          Sommelier
Resonant Health Inc                                SPACE Metaverse AG
Revault                                            SperaX
Rockbird LLC                                       Spruce Systems Inc
Rocket Protocol Foundation Ltd.                    Stacked
Roco Finance                                       Star Atlas
Rok Capital Offshore Fund Ltd                      Stargate (LayerZero)
Router Protocol / Kailaasa Infotech Pte Ltd        Starkware
Saddle Finance                                     Step Finance
Saddle Finance / Incite Technologies Inc           StepN (Find Satoshi Lab)

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Stocktwits                                    Voyager Digital LTD.
Stoke Space                                   VY Dharana Em Technology Fund, L.P.
Storybook                                     VY Space
Stramash Protocol Ltd.                        VY Space II LP
SubSocial                                     Vybe
Subspace Network                              WAEV
Sugarwork                                     Wave Mobile Money Holdings
Sui Token Warrant (FTX Ventures)              Wordcel
Sundaeswap                                    Worldspark Studios, Inc
SupraOracle                                   Xdefi
SupraOracle / Entropy Protocol Ltd.           X-Margin
Swim                                          Xterio
SwitchBoard                                   Yuga Labs (BAYC)
Swoop                                         Zebec
Symmetry                                      Zenlink
Synthetify                                    zero one
T Tauri Ltd - Token Purchase Agreement        Zeta Protocols
Tactic / Spoak Inc                            Zklend
Taki Network Pte Ltd                          ZKlend / Blue Horizon Global Corp
Taleverse                                     ZKX / LTIC, Inc.
TaxBit                                        ZRO (LayerZero)
Telis Bioscience                              Zubr Exchange Ltd
The Giving Block
Thirdverse                                    Joint Provisional Liquidators
TipLink                                       Brian C. Simms
Tools For Humanity                            Holland & Knight LLP
Tortuga                                       Kevin G. Cambridge
Torus                                         Peter Greaves
Toy Ventures                                  Richards, Layton & Finger, P.A.
TradeWind                                     White & Case
TripleDot
TrueFi                                        Known Affiliates - JV
Trustless Media                               Alameda Systems Inc.
TrySpace                                      Blockfolio Holdings, Inc.
TrySpace / SPACE Metaverse AG                 CM-Equity AG
TTAC                                          Concedus Digital Assets
Twilight / Cyberprep Corp                     Embed Clearing LLC.
Umee                                          Embed Financial Technologies Inc
UVM Signum Blockchain Fund VCC                FTX Australia Pty Ltd
UXD                                           FTX Bahamas Ventures Ltd
VALR Proprietary Limited                      FTX Capital Markets LLC
Vaus Limited                                  FTX Derivatives Gmbh
VerifyVASP Pte. Ltd.                          FTX Digital Markets Ltd
Vibe Labs Inc.                                FTX Express Pty Ltd
Virtualness Inc                               FTX Foundation, Inc.
VolMex                                        FTX Malta Gaming Services Limited
VolumeFi Software, Inc.                       FTX Malta Holdings Ltd.
Vosbor                                        FTX Vault Trust Company

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LedgerX LLC                                    Cleary Gottlieb Steen & Hamilton LP
Salameda Ltd                                   DLA Piper
                                               Hunton Andrews Kurth LLP
Landlords                                      MacCarter & English LP
101 Second Street, Inc.                        Paul Hastings
1450 Brickell, LLC
Albany Resort Operator Ltd.                    Ordinary Course Professionals
Blue Hole Real Estate Holdings Ltd.            ABNR
Boca Pay                                       Anderson Mori & Tomotsune
Bond Collective                                Anthony Astaphan
Brickwell Owner LLC                            Antis Triantafyllides
Heckler Investments (Bahamas) Ltd.             Appleby
Javari Ltd.                                    ARIFA
Madison Real Estate Ltd.                       Armanino LLP
Newwave Bahamas Inc.                           Arthur Cox
S3 Ocean View Limited                          Baker McKenzie
The Executive Center                           Baptista Luz
The Metropolitan Square Associates LLC         Bär & Karrer
WeWork Companies LLC                           Binder Grösswang
W-SF Goldfinger Owner VIII, L.L.C.             BlackOak
                                               Clayton Utz
Litigation                                     Clement Maynard & Co
Name on File                                   CMS Legal - Italy
Different Rules, LLC                           Covington & Burling LLP
Name on File                                   Durukan Partners
Group One Holdings Pte Ltd                     Fenwick & West
Name on File                                   Gibson Dunn
Marisa Mcknight                                Gorriceta Africa Cauton & Saavedra
ONE Studios Pte Ltd                            Hadef & Partners
                                               Hogan Lovells
Official Creditors' Committee Attorneys        Kim & Chang
Paul Hastings                                  King & Spalding LLP
Young Conaway Stargatt & Taylor                King Wood Mallesons
                                               Kramer Levin
Official Creditors' Committee Members          Latham & Watkins
Acaena Amoros Romero                           Lenz & Staehelin
Coincident Capital International, Ltd.         Lexcomm Vietnam
Epsilon Trading                                Loyens&Loeff
GGC International Ltd.                         McCarthy Tetrault
Larry Qian                                     MLL Meyerlustenberger Lachenal Froriep
Octopus Information Ltd.                       Ltd
Pulsar Global Ltd.                             Nishit Desai
Wincent Investment Fund PCC Ltd.               Norton Rose
Wintermute Asia PTE. Ltd.                      Olaniwun Ajayi
Zachary Bruch                                  Peter Maynard
                                               Piper Alderman
Official Creditors' Committee Members'         Prager Metis CPA's, LLC
Attorneys                                      Ronny Domröse

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Schurti Partners                               Bahamas Investment Authority
Shardul Amarchand Mangaldas                    Bahamas Trade Commission
Silicon Valley Accountants                     Bahamasair Holding Ltd
Slaughter & May                                Bank of The Bahamas
TSN Limited                                    Bo Fears
Walkers                                        Brandi Smith
WilmerHale                                     Brock Jensen
                                               Bryan Hsueh
Other Significant Creditors                    Business Licence - Valuation Unit (Bahamas)
BITVO Inc.                                     Campbell McLaurin
Celsius Network LLC                            Catherine Reyer
FTX Ventures Partnership                       Central Bank of The Bahamas
                                               Christopher German
Significant Competitors                        Clifford Charland
Binance                                        Commodity Futures Trading Commission
BlockFi, Inc.                                  Compliance Commission (Bahamas)
Coinbase                                       Corey Krebs
Crypto.com                                     Craig Christensen
Gemini Trust Company, LLC                      Cyprus Securities and Exchange Commission
Kraken                                         Danielle Sassoon
KuKoin                                         David Berland
                                               David Buchalter
Surety & Letters of Credit                     David O’Brien
Lockton Insurance Brokers, LLC                 David Venerables
Philadelphia Indemnity Insurance Company       Delaware State Treasury
RLI Insurance Co.                              Department of Insurance and Financial
Sompo International                            Services
                                               Department of Justice - Computer Crime and
Taxing                                         Intellectual Property Section
Authority/Governmental/Regulatory              Department of Justice - National Crypto
Agencies                                       Currency Enforcement Team
Alaska Department of Commerce,                 Department of Justice - Southern District of
Community, and Economic Development            New York
Amber Eutsey                                   Department of Justice - US Attorney
Anne Cappelli                                  Southern District of Florida
Arizona Department of Insurance and            Department of Labour (Bahamas)
Financial Institutions                         Department of Local Government (Bahamas)
Arkansas Securities Department                 District of Columbia Department of
Aurora Fagan                                   Insurance, Securities and Banking
Bahamas ACP Secretariat                        Drew Stillman
Bahamas Agricultural & Industrial              Dubai Virtual Assets Regulatory Authority
Corporation (BAIC)                             Dustin Physioc
Bahamas Bureau of Standards and Quality        Elizabeth Pendleton
(BBSQ)                                         Erin Wilk
Bahamas Development Bank                       Ethan McLaughlin
Bahamas Electricity Corporation (BEC)          Financial Intelligence Unit (Bahamas)
Bahamas Environment Science and                FINMA SRO-Treuhand Suisee
Technology Commission (BEST)                   Florida Office of Financial Regulation

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Georgia Department of Banking and Finance      Nina Ruvinsky
Gibraltar Financial Services Commission        North Carolina Department of Commerce
Hawaii Department of Commerce and              North Carolina Department of Justice
Consumer Affairs                               North Dakota Department of Financial
Hong Kong Securities & Futures                 Institutions
Commission                                     Office of Internal Audit (Bahamas)
House Committee on Oversight and Reform        Office of the Attorney General & Ministry of
Idaho Department of Finance                    Legal Affairs (Bahamas)
Illinois Department of Financial and           Office of the Auditor General (Bahamas)
Professional Regulation                        Office of the Data Protection Commissioner
Ingrid White                                   (Bahamas)
Internal Revenue Service                       Office of the Prime Minister (Bahamas)
Iowa Division of Banking                       Ohio Department of Commerce
Iris Ikeda                                     Ontario Securities Commission
Jack McClellan                                 Oregon Division of Financial Regulation
James Westrin                                  Patricia Straughn
Japan Financial Services Agency                Paul Balzano
Jason Gworek                                   Peter Frank
Jay Kim                                        Peter Marton
Jeanju Choi                                    Registrar Generals Department (Bahamas)
Jeffrey Loimo                                  Rhode Island Department of Business
Jennifer Biretz                                Regulation Financial Services
Jesse Moore                                    Richard Childers
Jesse Saucillo                                 Samuel Fuller
Jessica Peck                                   Samuel Raymond
Jesus (/Jesse) Saucillo                        Sara Cabral
Jonathan Misk                                  Secretary of State
Jonathan Vruwink                               Securities and Exchange Commission
Karyn Tierney                                  Securities Commission of The Bahamas
Kelley Reed                                    South Dakota Division of Banking
Kevin Webb                                     State of Connecticut Department of Banking
Kristen Anderson                               Stephanie Ryals
Kristin Rice                                   Steven Buchholz
Lucinda Fazio                                  Supreme Court (Bahamas)
Mark Largent                                   Tammy Seto
Maryland Department of Labor                   Texas Department of Banking
Matthew Dyer                                   Thane Rehn
Michigan Department of Insurance and           The Department of Inland Revenue
Financial Services                             (Bahamas)
Ministry of Finance (Bahamas)                  The Foreign Account Tax Compliance Act
Ministry of Works and Utilities (Bahamas)      (FATCA) (Bahamas)
Monetary Authority of Singapore                The National Insurance Board
Nebraska Department of Banking and             Tom Stevens
Finance                                        Treasury Department (Bahamas)
New Jersey Department of Banking and           Utilities Regulation & Competition Authority
Insurance                                      (URCA) (Bahamas)
New York Department of Financial Services      VAT Bahamas
Nicolas Roos                                   Vermont Department of Financial Regulation

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Virginia Bureau of Financial Institutions       Name on File
Washington State Department of Financial        ABG Shaq LLC
Institutions                                    ABM Onsite Services
Zak Hingst                                      Above The Realm LLC
                                                Abundantia Creative LLP
U.S. Trustee Office                             Ace Global
Andrew R. Vara                                  ADAM Association for Digital Asset
Benjamin Hackman                                Management, Inc.
Christine Green                                 Name on File
Denis Cooke                                     Name on File
Diane Giordano                                  Adithya Girish
Dion Wynn                                       Name on File
Edith A. Serrano                                Adobe Systems Inc.
Hannah M. McCollum                              Name on File
Holly Dice                                      Name on File
James R. O'Malley                               Name on File
Jane Leamy                                      Advisory Council Limited
Joseph Cudia                                    Advokatu kontora Sorainen ir partneriai
Joseph McMahon                                  Aer Lingus- Dubin, CO
Juliet Sarkessian                               Aero Mexico
Lauren Attix                                    Aerobic Design LLC
Linda Casey                                     Name on File
Linda Richenderfer                              AFI Infinite Ltd
Michael Panacio                                 Ai Safety Support Ltd
Nyanquoi Jones                                  AIA SG Pte Ltd
Ramona Harris                                   AIR Canada
Richard Schepacarter                            Air France
Rosa Sierra-Fox                                 Air Table
Shakima L. Dortch                               AIRBNB
Timothy J. Fox, Jr.                             Airtable
                                                AIVEN Timescale
Utilities                                       Name on File
AT&T                                            Akin Gump Strauss Hauer & Feld LLP
Comcast                                         Alameda County Tax
Comcast Business                                Name on File
Magic Jack                                      Name on File
Ooma Inc.                                       Alaska Air
Verizon Wireless                                Albany Resort Operator Ltd
Wiline Networks, Inc.                           Alcyone, LLC
                                                Name on File
Vendors                                         Alex Shilt
101 Second Street, Inc.                         Name on File
1Password                                       Name on File
2000 Center Street LLC                          Name on File
24HourWristbands.com                            Name on File
617 Perfection LLC                              Name on File
AAA Flag and Banner                             Name on File
Name on File                                    Name on File

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Ali Budiardjo, Nugroho, Reksodiputro               Appfollow
Name on File                                       Apple Inc.
Name on File                                       Apple Search Ads
AliasV                                             Apple Store
Aligned AI                                         Appsflyer Inc
Aliyun.com                                         Appsflyer Inc|C-Corp
Name on File                                       APUA Telecomms
Name on File                                       Arangrant
Alliance Virtual                                   Name on File
Alliance Virtual Offices (Corp)                    ARIA Resort and Casino
Allianz Insurance                                  Armanino
Alloy                                              Asana Inc.
Allyson Gibson                                     Ashurst LLP
Altcoin Daily                                      Association for Digital Asset Management,
Amazon                                             Inc.
Amazon Web Services (AWS)                          Astronomer, Inc.
American Airlines                                  AT&T
American Express                                   Atlantis Aquaventure
American Floor Mats                                Atlassian Pty Ltd
Amex Assurance Travel                              AUDIBLE
Amiba Consulting                                   Audio Kinetic
Amiee Weeks HR Consultant                          Name on File
Amplified Event Strategy LLC                       Auradine, Inc.
Amplitude                                          Name on File
Amtrak                                             Name on File
Amwins                                             Name on File
Name on File                                       Name on File
ANC Sports Enterprises                             Auth0.com
Anddone                                            Autodesk, Inc.
Anderson Kill LLP                                  Avara Labs Cayman Holdings SEZC
Anderson Mori & Tomotsune (Japan)                  Name on File
And-Now                                            Avis
Name on File                                       Name on File
Name on File                                       AVL Services LLC
Name on File                                       AWS
Andronic                                           AYG Sales
Andy Acosta                                        AZ State Tax
Andy Fisher                                        Azora Law
Name on File                                       Azora LLC
Ankr                                               B.A.R. Hilton
Annerton                                           Bad Moon Art Studio
Name on File                                       Bahamasa Nassau
Anupama Khan                                       Baker & Mackenzie Ltd
AOPS Inc                                           Name on File
API Law Office                                     Bally Sports Sun
APL* FIXER VIENNA                                  Banana Co Ltd
Apollo Jets LLC                                    Bank Administration Institute
Appfigures                                         Banwo and Ighodala

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Baptista Luz Advogados                       Bond Collective
Baquet Pty Ltd                               bookmap.com
Barbacoa LLC                                 Boomerang
Barbara Miller                               Name on File
Barstool Sports, Inc                         Bortstein Legal Group
Basketball Properties Ltd                    Boston Audio
BatteryVerd                                  Bourdolan 25
BCB Payments                                 Boxaroo
BCC Research                                 Boyer-Rosene
BDO Group Holdings Limited -AUD              Name on File
BDO USA, LLP                                 Brasil Motorsport
Name on File                                 Braze
Name on File                                 Brex Credit Card
Name on File                                 Brian Jung
Benesch Attorneys at Law                     Brickell Owner, LLC
Name on File                                 Name on File
Name on File                                 Brinc Drones
Bensussen Deutsch & Associates LLC           Bristol Cellars
Benzinga                                     British Airways
Bert Scott                                   Browser Stack
Best Buy                                     BSO Network Solutions Ltd
Beverages & More                             BT Dialpad Meetings
BFA NYC LLC                                  BT Stack Overflow
BH Trading Ltd.                              BTC Media
Bhouse USA LLC                               BTIG
Big City Ecommerce                           Buckley LLP
Big Photographic                             Budget Rental
Bill Bull                                    Buena Vida Cantina
Birth of the Cool LLC                        Bullish Studios
Biscayne Strategice Solutions                Burgopak
Bitcoin Events Pty Ltd                       Business Entity Data
Bitcoin Miami                                Business Insider
BitGo                                        Butcher's Son
Blacklane                                    C W Publishing Ltd
Bleacher Report - Warner Media               CA Creative
Blockchain Australia                         CA Franchise Tax Board
BlockScore, Inc.                             CA State Tax
Bloomberg                                    CAA Sports - Shohei Ohtani
Blue Bottle Coffee                           Caesars Entertainment
Blue Wave Communications                     CAF America
Blueair Inc.                                 Calendly
Blueground                                   Name on File
Bluestone Designs & Creations                Campolo Middleton & McCormick
Boca FIA Conference                          Canopy Labs
Boichik Bagels                               Canopy RE, Inc
Boleh Capital                                Canva Pro
Bonaventure Medical                          Capitalise LTD
Bond 60 Broad                                CARES Act Deferral

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Carhart Company Gear                           CoderPad
Name on File                                   Coinalyze.Net
Name on File                                   Coinbase Coustody Trust
Name on File                                   Coindesk
Name on File                                   CoinMara SAFE
Carta Inc                                      Coinmarketcap
Casgains Enterprises Inc                       COJO Strategies
Cathay Pacific Airways                         Cole Frieman and Mallon LLP
CCJK Technologies                              Name on File
Center for Applied Rationality                 Colormatics
Central Provident Fund Board                   Comcast
Chain of Events SAS                            Comm OF Mass EFT
Chainalysis Inc.                               Commercial Loan Clearing
Chainstack                                     Commonwealth Building Supplies
Chan Cheuk Long Aaron                          Comone Int’l Logistics Pte Ltd
Chapman Tripp                                  Conaway Graves Group
Name on File                                   Conde Nast
Charthop                                       Congressional Leadership Fund
Chartwell                                      Name on File
Name on File                                   Corelle Brands LLC
Chartwell Compliance                           Cornell Quant Fund
Chase Garbers                                  Corporate & Trust Services
Name on File                                   Costrite
CHATWEE                                        CQG Inc
CheapOair                                      Craftsman Plus, Inc.
Checkr.com                                     Cranes
Name on File                                   Crate & Barrel
Chicago Mercantile Exchange Inc.               Creative Edge Parties
Chill Sacks                                    Creators Agency LLC
Chocovivo                                      Creel, Garcia-Cuellar, Aiza y Enriquez, S.C.
Name on File                                   Crypto Council for Innovation
Name on File                                   Crypto Insiders BV
Name on File                                   CSL Mobile Limited Hong Kong
Name on File                                   CT Corporation Stystem
Name on File                                   Cue Health
Chryzelle Marie Tan-Leuterio                   Currencylayer Paylane.Com
Circle Internet Financial, Inc.                Customink
Circleci.Com                                   CVS
Name on File                                   Cyber Power
Name on File                                   Daily Harvest
Claus                                          Name on File
Clear 19 Covid Testing Center                  Name on File
Clear19 Rapid Testing                          Name on File
Clearme.Com                                    Name on File
Name on File                                   Name on File
Cloud Healthcare                               Name on File
Cloudflare Inc                                 Dara Studios
Coachella                                      Data.ai

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Datadog, Inc.                                DoorDash US
Datahub                                      Dotdash
Name on File                                 DraftKings
Name on File                                 Dragonfruit Media LLC
Name on File                                 Drawn Sword Limited
Name on File                                 Drawn To It Studios LLC
Name on File                                 Drawsfromlife.com
DBS Bank Limited                             Dreamco Design
DBT Cloud                                    Name on File
DE Art International LLC                     Dribble
DE Franchise Tax                             Drip Hydration
Deacons Lawyers                              Dropbox
Debevoise and Plimpton                       DSM Safety Products
Debit Card Vendor                            Duane Morris LLP
Name on File                                 Dubai World Trade Centre LLC
Debra Hixon                                  Dune Analytics
Delarosa                                     Name on File
Delaware Corp Tax                            Name on File
Delivery Hero (Singapore) Pte. Ltd.          E3 Technology, Inc.
Dell Inc                                     East Bay Restore
Delphi Digital Consulting                    Echo Marketing, LLC
Delta Airlines                               Eddie Moon
Demarvin Leal                                Edison Company
Name on File                                 Edmond Custom Bookkeeping
Denstu McGarry Bowen                         Eduardo Brasil
Dentsu X                                     Edward Moncada
Design Print                                 EFax
Deutsche Lufthansa                           Effect Communications, LLC
Devan Media LLC                              Name on File
Name on File                                 Elaine Amistad
DFDL Vietnam Law Company Limited             Name on File
DHL                                          Name on File
Diablo Holdings - 2000 Center                Name on File
Diana Ma                                     Name on File
Name on File                                 Elite Commercial Services
Digital Assets Council of Financial          Elite Protection LLC
Professionals                                Elite Services
Digital Finance Group Co.                    Name on File
Digital Wealth MB                            Elwood
Disini & Disini Law                          Embed Clearing LLC
DJ Bam LLC - Sunjay Matthews                 Emerson Estate
Dlocal LLP                                   Emerson Land Company
DLT Climate Tech, Inc.                       Emirates NBD - USD
DOCKER                                       Emondo design, vl. Ivana Milicic.
DOCUSIGN                                     Empire Consulting
Done Deal Promotions                         Employee Reimbursements
Donna Redel                                  Energy Design Studio Limited
Door Dash                                    Enterprise Rental

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Entrust Corporation                               Figuring Out Money LLC
Epic Steak                                        Finder.com LLC
Epik Holdings Inc                                 Name on File
Equinix                                           Finnair
Equinix - JPY                                     Fireblocks LTD
Equinix INC                                       First Movers Advantage LLC
Equinox Group LLC                                 Fisher and Phillips LLP
Equity and Transformation                         Flatiron Labs, Inc.
ERAC Tolls                                        Flexispotph
Ergatta                                           Florida International University Foundation
Name on File                                      Flutterwave
Erika Kullberg LLC                                Food Panda
Name on File                                      Fortress Real Property Ltd
Name on File                                      Fox Broadcasting Company
Eshares Inc (Carta)                               Fox Sports
Estudio Nunes & Asoc.                             Franchise Tax Board
Name on File                                      Franz
Ethoca Mastercard                                 Fresh Market
Etsy                                              FrontApp.com
Eventus Systems, Inc.                             FruitGuys, LLC
Everyday.App                                      FTX Digital Markets
Everywhere Wire                                   Full Court Press Communications, Inc
Name on File                                      Fullstory
Evolve Bank and Trust                             Functional Software Inc, dba Sentry
Excel Sports Management                           Funnel
Executive Transportation                          Furia ESports LLC
Expedia                                           Futures Industry Association
Expensify                                         Name on File
Experience Group                                  Galaxy
EY                                                GameStop
Name on File                                      Garcia De Paredes Law
Fabien Gashi                                      Name on File
Facebook/Meta                                     GB Solutions - Geoff Bough
Factory PR LLC                                    GEMFURY - Seattle, WA
Fairfield Inn                                     General Restaurant
Fast Forward                                      Gensler Inc
Federal Trade Commission FTC                      Name on File
FEDEX                                             Name on File
Name on File                                      Ghost.org
Felix                                             Gibson, Dunn & Crutcher LLP
Name on File                                      GitHub
Fenwick & West                                    Give Directly, Inc.
Fenwick & West - FTX Trading Ltd                  GKL Registered Agents Inc
Fenwick & West - FTX US                           Gleech
FhaeLin Entertainment LLC                         Global Experience Specialists
Fidelifacts - Metropolitan New York, Inc.         Globaltech & Infosec Pvt. Ltd.
Fieldfisher France LLP                            Glushon Sports Management
Figma, Inc.                                       GoDaddy

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GogoInflight                                      Honeycomb
Golden State Warriors                             Horus Security Consulting, LLC
Golden State Warriors Community                   Hotels.com
Foundation                                        Hotwire
Goldfinger                                        Houzz
Goodwin Proctor LLP                               Hover
Google                                            Hubspot
Google Cloud Platform                             Huddle Up
Google LLC                                        Huddle Up - Joe Pompliano
Gorriceta Africa Cauton & Saavedra                Hudson News
Grafit Studios - Roman Tulinov Pe                 Human Interest
Grafted Growth                                    Huntsman Architectural Group
Grammarly                                         Hyatt
Grand Hyatt Retail                                I2C Inc.
Grand Prix Tickets                                Name on File
Grand View Research                               IANSP
Grapefruit LLC                                    IBE Emirates
Graycliff Hotel and Restaurant                    Iberia
Green Brier                                       ICC Business Corporation FZ LLC
Group One Holdings                                Iceberg Thermal Inc.
Gsuite                                            Identogo
Guideline Retirement                              IFS Markets
Gusto                                             IKEA
GVZH                                              IKOABD LLC
Haldanes                                          Name on File
Name on File                                      Iles Media LLC
Harney Westwood and Riegels LP                    IMG Technologies Inc.
Name on File                                      Imperial PFS
Harry & David                                     Inca Digital, Inc
HashPort Inc.                                     INCO, LLC
Haskell Garrett                                   Incorporating Services
Hassans International Law                         India Strategic Partnership Inc.
Name on File                                      Indoboard
Have I Been Pwned Surfers                         Industria LLC
Haynes and Boone LLP                              Inevitable Outcomes, LLC
Hedgren Business Inc.                             Influxdata
Hellosign                                         informa Tech Holdings LLC
Name on File                                      Info-Tech Research Group
Name on File                                      Infura
Herman Miller Design                              Insight Direct USA Inc
Hertz                                             insight software CO
High Flying Foods                                 InstaCart
Hilton                                            InterContinental Lodging
Hinman Straub                                     Internet and Mobile Association of India
Hive ( Coin Stack )                               Interpret, LLC
HMRC Birmingham Stamp Office                      Intrinio
Hogan Lovells International LLP                   Intuit Inc
Holland & Knight LLP                              Investing Made Simple

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Invisible North                                   Name on File
ipower                                            Name on File
IPQ                                               Name on File
Iron Computers                                    Name on File
Iron Mountain                                     Name on File
Name on File                                      Name on File
Isbl International Specialty Brokers Limited      Name on File
ISDA Inc                                          Jumio Corporation
Island Brothers                                   Justworks
Itsjustgoo                                        Kaiser Group
Name on File                                      Kandji
Name on File                                      Kanoo Pays West
Name on File                                      Name on File
Name on File                                      Karl Marlon Culobio Laurie
Name on File                                      Name on File
Name on File                                      Name on File
Name on File                                      Name on File
Name on File                                      Name on File
Jams                                              Kathryn Swan
Name on File                                      Katten Muchin Rosenman LLP
Name on File                                      Kayko
Name on File                                      Kensington Strategies
Name on File                                      Kevin Andrew Alturas
Name on File                                      Kevin Haeberle
Jeff Dilley Expense Reimbursement                 Kevuru Art Studio
Name on File                                      Name on File
Jenner & Block LLP                                Kim & Chang
Name on File                                      Kim and Chang (Korea)
Jessica Elam Wong                                 Kimball Stroud and Associates
Jet Blue Airways                                  Kindle
JetBrains                                         King and Wood Mallesons (HK)
Jetstream Partners Limited                        Kingdom Trust
JLL Law Firm                                      Kirkland and Ellis LLP
Name on File                                      Knackshops
Name on File                                      Kyle Dugan
Name on File                                      Name on File
Name on File                                      Kyren Williams
Name on File                                      Name on File
Name on File                                      Landry's
Joe Pompliano                                     Name on File
John J. Donohue III                               Latham & Watkins LLP
JOLLIBEE                                          Name on File
Jomboy Corp                                       Name on File
Name on File                                      Name on File
Jonathan Becker                                   Name on File
Name on File                                      Name on File
Jorge Luis Lopez Law Firm                         Law Debenture Corporate Services
Name on File                                      Law Offices of John J. Faso

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Name on File                                   Lunch Money Group Inc - Anthony
Learfield                                      Pompliano
Ledger & Cobie Enterprises                     Name on File
LedgerX LLC                                    Lyft
Lee and Li Attorneys at Law                    M Group
Lee Kitchen                                    Name on File
Legacy Starter Plan                            Madison Real Estate Ltd.
Lemonade                                       Maerki Baumann Und Co.
Name on File                                   Magic Jack
Leo Trippi SA                                  Mahogany House Restaurant
Name on File                                   Name on File
lever, Inc                                     Mailgun Technologies
Lewis Silkin LLP                               Mammoth Media, Inc.
Lexis Nexis                                    Name on File
Lideres Campesinas, Inc.                       Maria Katrina E. Guevara
Lids                                           Maria Katrina L. Enriquez
Liftoff Mobile, Inc.                           Mariane Ibrahim
Light the Way - The Campaign for Berkeley      Marianos
Lighting New York                              Name on File
Limit Break                                    Name on File
Lincoln Place Inc.                             Name on File
Line Group                                     Markets and Mpune
Name on File                                   MarketVectors Indexes GmbH
Linkedin                                       Marriott
Name on File                                   Name on File
LiquidSpace, Inc                               Name on File
Litera                                         Maser Tedjasukman
Litquidity Media Inc                           Matheson
Name on File                                   Matheson LLP
Lockton Insurance Brokers, LLC                 Name on File
Name on File                                   Name on File
Looker (Google LLC)                            Matthew Kohrs LLC
Loom, Inc.                                     Name on File
Lorem Ipsum – AP                               Name on File
Name on File                                   Name on File
Name on File                                   Name on File
Louis & Steens Market                          Max Maher Show LLC
Lowenstein Sandler LLP                         Name on File
Name on File                                   Maxim Commerce LLC
Name on File                                   MaximLott
Name on File                                   Maxlaw Global
Lufthansa                                      MaxMind
Lugg                                           Mayfield XV
Name on File                                   MBR Marketing
Name on File                                   McCarthy Tetrault
Name on File                                   McDonalds
Lumen Workplace, Inc                           McGarry Bowen, LLC
Luminaire                                      Medium Rare Live

                                                                                 Page 23
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Medium.com                                        Morrison and Foerster LLP
Name on File                                      Motorsport Games
Mercedes-Benz Grand Prix Limited                  Moxu Projects LLC
Message Global                                    Moxy
MESSARI, INC.                                     Moz
met museum                                        MPG Live
Meta Platforms, Inc.                              MS Dept of Revenue
Metropolitan Square Association                   MV Index Solutions GmbH- EUR
MF Athletic Company                               MYUS.COM
MG Trust                                          NA League of Legends Championship Series
MGA Press                                         LLC
Miami Dade County                                 NAMECHEAPCOM
Miami Heat Limited Partnership                    Nansen.AI
Name on File                                      Naomi Osaka
Name on File                                      NASDAQ, INC.
Name on File                                      Name on File
Name on File                                      Natoma Cabana
Name on File                                      Navarreaux Simmons
Name on File                                      NC Dept Revenue
Name on File                                      nCipher Security
MicroBilt                                         Name on File
MicroLedgers                                      Neodyme
Microsoft                                         Nerd St. Gamers
Microsoft Advertising                             Nerdwallet
Microsoft Online Inc                              Nespresso
Midtown Gibraltar                                 Netflix.com
Name on File                                      Netlify
Name on File                                      Neverbounce
Miller Starr Regalia                              Name on File
Name on File                                      New Relic
Ministry of Foreign Affairs                       New Revolution Media
Minter Ellison                                    New River Oyster
Miro                                              New York State Tax
Name on File                                      New York Times
Name on File                                      NFL
MLB Advanced Media                                Ngrok
Name on File                                      Name on File
MMBOC, LLC                                        Name on File
Modsy                                             Name on File
Momentum Plus                                     Name on File
Monica Laurie                                     Name on File
Monumental Sports and Entertainment               Name on File
Foundation                                        Nifty Metaverse Inc
Moo Inc                                           Name on File
Moon Overlord                                     NIL Management
Mooncolony Ltd                                    Name on File
Moralis.io                                        Nishith Desai Associates
Morgan Lewis                                      Nium FinTech

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Nium PTE                                       OtterSec LLC
NJ Scholars                                    Name on File
NJ Web Pmt                                     Name on File
NMLS                                           PADDLE.COM
Nobu Hotel Chicago                             Paddle.net
Noe Valley Bakery                              Pagerduty, Inc
Nord Layer                                     Name on File
Norma Eleonore Camba                           Pal Air
NorthStar Moving                               Palace Hotel
Norton                                         Palm Desert
Norton Rose Fulbright LLP                      Palm Springs Airport
Norton Rose Fulbright South Africa             Paperform
Not Boring Media LLC                           Patricia Anne Atienza Alturas
Notion Labs Inc                                Paul Hastings LLP
Noun Project                                   Name on File
Nowadays                                       PayPal
NP Digital                                     PCCW Netvigator Now
NPM, Inc                                       Name on File
Numfocus, Inc                                  Peloton
NYS DTF CT                                     Pennsylvania SUI
NYSE                                           Penny Arcade
Oanda Business Information Services Inc        People's Group
ObservePoint                                   Perkins Coie LLP
octagon                                        Perrys Restaurant
Odin Enterprises, LLC                          Personal Wine Austin
Office Depot                                   Peter D. Maynard Counsel & Attorneys
Office Revolution                              Name on File
Ohio Bureau of Worker’s Compensation           Name on File
OIC of South Florida                           Name on File
Okra Technologies                              PH Hotel
O'Leary Productions Inc.                       Pharma Choice Limited
Ollari Consulting                              Pickle Software LLC
Olympia Tax                                    Pine Court Sunrise
Olympia Tax Services                           Pinpoint Merchandising
On Chain Gaming                                Piper Alderman Law
One Stop LB                                    Plaid Financial Ltd.
One Workplace L. Ferrari                       Play Magnus AS
Onebox                                         Playfab Inc.
Onni Grand LP                                  Playground Ventures
Ooma.com                                       Playup Limited
Open Fortune - Fortune Media                   PODSCRIBE.COM
Opra                                           Pollfish, Inc.
OPUS Partners Co. Ltd                          Pomp Podcast - Lunch Money Group
Orrick, Herrington & Sutcliffe LLP             Ports International
Osaka Exchange                                 Postmates
Oscar Messina                                  Practising Law Institute
Osler, Hoskin & Harcourt LLP                   Prager Metis
OTC Markets                                    Prefect

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Premier Courier Services                      Redwood Valuation Partners, LLC
Premium Electric Services                     Reebie Storage
PricewaterhouseCoopers LLP                    Name on File
Prime Trust LLC                               Refactor Capital
Print Run Promotions LTD                      Refinitiv
Printfection                                  Refinitiv US, LLC
ProCo Global, Inc.                            Renee Navarro
Propeller Industries (DE), LLC (ACH           Rentspree
Payment)                                      Residency Art Gallery
Prospera Law                                  Restaurant La Pomme De Pin
Pryor Cashman LLP                             Restoration Hardware
PSYOP Productions LLC                         Revolut Ltd
puck.news                                     Rhapsody Cabot VT
Puerto Rico Department of State               Rhino Network Solutions
PureVPN                                       Rich Feuer Anderson
PWC - S.A. Evangelou and Co LLC               Richard Yellen and Associates
Pyramid Taproom                               Rigel E Saysip
Qantas                                        Rightsize Facility
QR.IO Generator                               Rinse
QRCode Studio                                 RIO ESG Ltd
QReg Advisory Limited                         Ripple Labs Singapore PTE. LTD.
Qualtrics                                     Rippling
Quantum Projects                              Ritz
Quatar Airlines                               Rivers & Moorehead PLLC
Quickbooks                                    Robert Lee & Associates, LLP
Quicken                                       Name on File
Quicknode                                     Robinhood
Quinn Emanuel Urquhart & Sullivan, LLP        Rocky.Talk
Quiznos                                       Rogue
R Creative                                    Roku
R8G UK Limited                                Romella Ann L Militar
Name on File                                  Rosen Lewis PLLC
Radegen Sports Management                     Rosenblum Cellars
Rafael Augusto Zanchetim Ilustrações          Rosewood Hotels and Resorts
Rahmat Lim & Partners                         Rounault Gomez
Raintank Inc                                  Rove Concepts
Ralphs                                        Name on File
Name on File                                  Royal Executive
Randall Kincaid                               Name on File
Randall Lamb                                  Ruin the Game Events
Rational 360                                  runnode.com
Raybloch                                      Runpod
RBC Capital Markets, LLC                      Name on File
Readme.com                                    Name on File
ReadyRefresh                                  Name on File
Red Points Inc                                Ryan Salame
Reddit                                        Name on File
Redmond Construction Group                    S.A. Evangelou and Co LLC

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Name on File                                  Shima Restaurant
SafetyPay                                     Shopify
Saigon Art Studio                             Short.IO
Saigon Dragon Studios                         SHRM Trustees BVI Limited- USD
Salameda Capital LTD                          Shutterstock
Name on File                                  Shuttlefinder
Salsbury Industries                           Sidley Austin LLP
SALT Venture Group LLC                        Sierra Wireless
Name on File                                  SightSpan Inc
Name on File                                  Signature Bank
Samantha Enriquez Culaton                     Siimpl - Firesight Technologies
Name on File                                  Silver Miller
Name on File                                  SimilarWeb Payment
Sarah Stevens                                 Simmons & Simmons JWS Pte. Ltd.
Sardine Ai                                    Simon Hipkins Films Limited
Name on File                                  Name on File
Name on File                                  Singapore Business Federation
Name on File                                  Skadden, Arps, Slate, Meagher & Flom LLP
SC Media LLC                                  Skew
Sc30 Inc.                                     Skyline Construction
SCANOVA                                       Slack Technologies, Inc
Name on File                                  SLS Hotel
Name on File                                  Smart Living LLC
Scratchy Productions, Inc.                    Smith's Carpentry
Name on File                                  Snap Inc
Name on File                                  Soho Hotel
Name on File                                  Sol Stores
Secoda                                        Solana Spaces
Secretlabus Newark                            Solidus Labs
Seminole Hard Rock                            Name on File
Senpex Delivery                               Solomon's Market
Sensor Tower                                  Solutions Evenements.fr
Sentry                                        Soneela P. Enriquez
Sequor Trends Limited|Foreign Vendor          Sorainen
Serendipity Consulting                        Sound Specialists
Serum                                         Southwest Airlines
Servico Co.                                   Sparkletts
SF Mercantile                                 Speechify
Name on File                                  Spiralyze LLC
Shadow Lion                                   Spirit Airlines
Name on File                                  SponsorUnited, Inc
Name on File                                  Sportique Apparel
Name on File                                  Spotify
Name on File                                  Spring Fertility
Name on File                                  Squarespace Inc.
Sheraton                                      SSB Trust
Name on File                                  Stack Overflow
Shift Technologies, Inc.                      Staff Payroll

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Stage 39 Productions                          Target Systems Development
Stamps.com                                    Name on File
Stanford Law School                           Taron Vincent
Staples                                       Tarrytown Pharmacy
Starbelly                                     TAS Services
Starbucks                                     Task Rabbit
State Mechanical Services                     TaxBit
State of CT DRS                               Name on File
State of Idaho                                Taylor Wessing LLP
State of Louisiana                            T-Custom
Name on File                                  Team Playback LLC
Name on File                                  TeamViewer
Name on File                                  Teknos Associates LLC
Name on File                                  Name on File
Name on File                                  Terra-Core Fitness
Steptoe & Johnson LLP                         Tevora
Sterling Trust & Fiduciary Limited            Texas Dept. of Banking
Sterling Trust (Seychelles)                   Text Expander
Name on File                                  TF Cloud Team
Name on File                                  TGI Office Automation
Stichd                                        The 601 Club
Stitchdata.Com                                The Block Crypto
Storage Mart                                  The Boca Raton
Storage Pro                                   The Clancy
Stout                                         The Coffee Banassau
Stripe, Inc.                                  The Color Dreamers
Name on File                                  The Container Store
Stuckey Design Studio                         The Drop Media
Sullivan & Cromwell LLP                       The Drop NFT Media, Inc
Super Farmersville                            The Emerson Land Company
Supergenius Industries LLC                    The Emily
Survey Monkey                                 The Executive Centre
Name on File                                  The Executive Centre Singapore Pte Ltd
Swift Media Entertainment - TSM FTX           The Generalist LLC
Swift Media Entertainment Inc.                The Goodly Institute
Switch Health                                 The Hanover Insurance Group
Synchrony Bank                                The Hartford
T Cap Solutions, LLC                          The Information
T8 Partners LLC                               The Institute of International Finance
Tag Systems USA, Inc.                         The Island House
TagNitecrest Ltd                              The Little Goat
TAILSCALE                                     THE LOOP
Takashi Hidaka                                The Magnolia
Takedown Media                                The Metropolitan Museum of Art
Talent Resources Sports                       The New Stand
Tao Wu                                        The Public Izakaya
Tardis.dev                                    The Real Deal
Target                                        The Saguaro

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The Test Warehouse                                Tripactions
The Working Policy Project                        Name on File
Thirdverse, Co, Ltd                               Triton One Limited
Thomas John and Co.                               TRM Labs, Inc.
Thrive Market Goods                               TRP
Tian Yuan Law Firm                                Trubrain
TigerWit                                          TSD Communications
TikTok                                            TSheets
Tillbury Multi-Media Ltd                          TSX Inc
Name on File                                      Tuan Tran Quoc
Time Magazine                                     Tuesday Night Eternal
Time Magazine UK LTD                              Turner Digital AD Sales (Inc)
Name on File                                      Twilio
Name on File                                      Twitch Influencer
TL International                                  Twitter
TL Travel                                         Two More Glasses
TL Winter - USD                                   Tyco Integrated Security
TLA Worldwide Limited                             Typeform S.L
TLB Corporate Services                            uber
TLB Corporate Services (Singapore)                Uber Cornershop
TLB CS Pte. Ltd.                                  Uber Eats
TLP Inc.                                          Uber Pass
TML Winter                                        Uber Trip
TN State Revenue                                  UBS Financial Services Inc
Today in Defi Dover De                            UJH Enterprise, Inc
Tonal                                             Name on File
Tongle X LLC                                      Ultrabeing Ltd.
Top Drawer Merch                                  Underground Creative
TOP Worldwide, LLC                                United Airlines
Tovala                                            United Healthcare
Tradeblock Corporation                            United Talent Agency
TradingView                                       Unity Technologies
Transcend Visuals                                 Unlocks Calendar
TransPerfect (Chancery Staffing)                  Uplift Desk
Travel Reservation                                UpOnly
Travelers Insurance                               UPS
Travelong                                         USI
Travis-CI                                         Utah Tax Payment
Treasury Forfeiture Fund                          Name on File
Trello                                            Valuz LLP
Name on File                                      Vanta
Trevor Harron                                     VARA
Tribe Payments Ltd                                Variegated Designs LLC
Trident Service Solutions LLC                     VEAT Law Firm
TriNet                                            Venmo
Trip Actions, Inc.                                Vensette, LLC
TRIP COM                                          Name on File
TRIP Fee                                          Name on File

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Venustas Law PLLC                             Wifionboard
Vercel Pro Walnut                             Wiley Rein LLP
Verifi, Inc                                   Wiline Networks, Inc.
Verifly                                       Name on File
Verizon Wireless                              Name on File
Vice City Bean                                Name on File
Name on File                                  William Trevor Lawrence
Victoria Balbes/Phantom Firefly               William Trevor Lawrence dba MMBOC,
Virgin Atlantic                               LLC
Virgin Australia                              Willkie Farr & Gallagher LLP
Name on File                                  Winston & Strawn LLP
Vision of Elegance                            Wistia
Vista Print                                   Wix
VKR Insights                                  WME Entertainment
Voices Inc.                                   Women in Sport Aotearoa
VoskCoin, LLC                                 Wondros
VTax Eft (Vermont)                            World One Law Group
W Miami                                       Wpromote LLC
Name on File                                  W-SF Goldfinger Owner VIII, LLC
Wall Street Journal                           Wuhan Jiyi Network Technology Co.,Ltd.
Wasserman                                     WYzant
Wasserman - Operating                         XReg Consulting
Wasserman Client Trust                        XReg Consulting- GBP
Water.com                                     Yamibuy
Watershed                                     Yardi Service
Watson Law                                    Yesware
We Are One World                              Name on File
Wealth Cast Media LLC                         Yigal Arnon-Tadmor-Levy
Web Flow                                      Youth Sport Trust
Web Shield Limited                            Yunpianwang
Webedia.                                      Name on File
Webflow Inc.                                  Name on File
Weekly Open                                   Zack Voell
Wells Fargo                                   Zaid Abdul-Aziz
West Elm                                      Zapier
West Realm Shires Services Inc                Zel-Tran
West Realm Shires, Inc. WRS                   Zendesk
WeWork                                        Zendesk Inc
WH Sports                                     Name on File
White & Case                                  Name on File
WHOISXMLAPI                                   Zoom Video Communications, Inc.
Wifi Bread                                    Zsa Technology Labs Inc.




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                                                    EXHIBIT B

                        Listing of Parties-in-Interest Noted for Court Disclosure1


Relationships in Matters Related to the Debtors

See disclosure in Paragraph 4 of the Declaration relating to the vendor work performed by FTI
Technology for the Debtors.

Relationships in Unrelated Matters - Current


                                                                Morgan Stanley
Director/Officer                                                MUFG Bank, LTD.
Name on File                                                    National Australia Bank
                                                                Paysafe
Ad Hoc Committee (Non US Customers                              Stripe
of FTX.com)                                                     Sumitomo Mitsui Banking Corporation
Eversheds Sutherland (US) LLP                                   (SMBC)
Morris, Nichols, Arsht & Tunnell LLP                            Wells Fargo

Bankruptcy Professionals                                        Contract Counterparties
Ernst & Young                                                   Billboard Media, LLC
Quinn Emanuel Urquhart & Sullivan, LLP                          BitGo
Simpson Thacher & Bartlett LLP                                  Major League Baseball Clubs
Sullivan & Cromwell LLP                                         Office of the Commissioner of Baseball
                                                                Thoma Bravo
Banks/Lender/UCC Lien                                           Yahoo Inc.
Parties/Administrative Agents
AKBANK                                                          Donations
Bank of America                                                 Managed Funds Association
BMO Harris Bank, N.A.
Circle Internet Financial, Inc.                                 Insurance
Commercial Bank of Dubai                                        Continental Casualty Company
DBS Bank Limited                                                HDI Global Specialty SE
Deltec                                                          QBE Insurance Corporation
ED&F Man Holdings Inc.                                          The Hanover Insurance Group
Emirate NBD Bank                                                The Travelers Insurance Company
HDFC Bank                                                       United Fire Group
HSBC Bank                                                       Zurich Insurance Plc
JPMorgan Chase Bank, N.A.

1
    Certain names are redacted pursuant to the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated
    List of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors to Redact
    or Withhold Certain Confidential Information of Customers and Personal Information of Individuals on an
    Interim Basis and (III) Granting Certain Related Relief [D.I. 157], which was extended by the Court on January
    11, 2023.

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Investments/Acquisitions                       King & Spalding LLP
Artemis                                        King Wood Mallesons
AZA Finance                                    Kramer Levin
Chipper Cash                                   Latham & Watkins
Circle Internet Financial, Inc.                Nishit Desai
Consensys                                      Norton Rose
Critical Ideas Inc                             Piper Alderman
Critical Ideas, Inc.                           Shardul Amarchand Mangaldas
Fanatics                                       Slaughter & May
Play Up                                        Walkers
Scopely                                        WilmerHale
Skybridge
                                               Other Significant Creditors
Joint Provisional Liquidators                  Celsius Network LLC
Holland & Knight LLP
Richards, Layton & Finger, P.A.                Significant Competitors
White & Case                                   Binance
                                               Coinbase
Known Affiliates - JV                          Gemini Trust Company, LLC
Embed Financial Technologies Inc               Kraken

Landlords                                      Surety & Letters of Credit
WeWork Companies LLC                           Sompo International

Official Creditors' Committee Attorneys        Taxing
Paul Hastings                                  Authority/Governmental/Regulatory
Young Conaway Stargatt & Taylor                Agencies
                                               Commodity Futures Trading Commission
Official Creditors' Committee Members'         Department of Justice - Southern District of
Attorneys                                      New York
Cleary Gottlieb Steen & Hamilton LP            Hong Kong Securities & Futures
DLA Piper                                      Commission
Hunton Andrews Kurth LLP                       Internal Revenue Service
Paul Hastings                                  North Carolina Department of Justice
                                               Securities and Exchange Commission
Ordinary Course Professionals
Anderson Mori & Tomotsune                      Utilities
Appleby                                        AT&T
Arthur Cox                                     Comcast
Baker McKenzie                                 Verizon Wireless
Bär & Karrer                                   Adobe Systems Inc.
Clayton Utz
Covington & Burling LLP                        Vendors
Fenwick & West                                 Aer Lingus- Dubin, CO
Gibson Dunn                                    AIR Canada
Hogan Lovells                                  Air France
Kim & Chang                                    AIRBNB

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Akin Gump Strauss Hauer & Feld LLP              Gensler Inc
Alaska Air                                      Gibson, Dunn & Crutcher LLP
Allianz Insurance                               Goodwin Proctor LLP
Amazon                                          Google
Amazon Web Services (AWS)                       Google LLC
American Airlines                               Gusto
American Express                                Haynes and Boone LLP
Amtrak                                          Hertz
Anderson Mori & Tomotsune (Japan)               Hilton
Apple Inc.                                      Hogan Lovells International LLP
Ashurst LLP                                     Holland & Knight LLP
AT&T                                            Hotwire
Avis                                            Hyatt
AWS                                             Iron Mountain
Baker & Mackenzie Ltd                           Jenner & Block LLP
BitGo                                           Jet Blue Airways
Bloomberg                                       Justworks
BTIG                                            Katten Muchin Rosenman LLP
Buckley LLP                                     Kim & Chang
Caesars Entertainment                           King and Wood Mallesons (HK)
Cathay Pacific Airways                          Kirkland and Ellis LLP
Circle Internet Financial, Inc.                 Latham & Watkins LLP
Comcast                                         Lewis Silkin LLP
Creel, Garcia-Cuellar, Aiza y Enriquez, S.C.    Linkedin
Cue Health                                      Lowenstein Sandler LLP
CVS                                             Lyft
Data.ai                                         McDonalds
DBS Bank Limited                                Meta Platforms, Inc.
Deacons Lawyers                                 Microsoft
Debevoise and Plimpton                          Minter Ellison
Dell Inc                                        Morgan Lewis
Delta Airlines                                  Morrison and Foerster LLP
DHL                                             NASDAQ, INC.
DOCUSIGN                                        Netflix.com
Dropbox                                         New York Times
Duane Morris LLP                                NFL
Equinix                                         Nishith Desai Associates
Equinix INC                                     Norton Rose Fulbright LLP
Equinox Group LLC                               Norton Rose Fulbright South Africa
Etsy                                            NYSE
Expedia                                         octagon
EY                                              Orrick, Herrington & Sutcliffe LLP
Federal Trade Commission FTC                    Osler, Hoskin & Harcourt LLP
FEDEX                                           Osler, Hoskin & Harcourt LLP
Fenwick & West                                  OTC Markets
Finnair                                         Paul Hastings LLP
Fisher and Phillips LLP                         PayPal

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Peloton                                      Taylor Wessing LLP
Perkins Coie LLP                             The Container Store
Piper Alderman Law                           The Hanover Insurance Group
Playup Limited                               The Hartford
Postmates                                    TikTok
Pricewater House Coopers LLP                 Travelers Insurance
Pryor Cashman LLP                            TriNet
Qantas                                       uber
Quinn Emanuel Urquhart & Sullivan, LLP       Uber Eats
RBC Capital Markets, LLC                     UBS Financial Services Inc
Restoration Hardware                         United Airlines
Robinhood                                    United Healthcare
Roku                                         United Talent Agency
Shopify                                      UPS
Sidley Austin LLP                            USI
Skadden, Arps, Slate, Meagher & Flom LLP     Verizon Wireless
Slack Technologies, Inc                      Virgin Atlantic
Snap Inc                                     Virgin Australia
Southwest Airlines                           Wall Street Journal
Spirit Airlines                              Wells Fargo
Spotify                                      West Realm Shires Services Inc
Squarespace Inc.                             WeWork
Staples                                      White & Case
State of Louisiana                           Wiley Rein LLP
Steptoe & Johnson LLP                        Willkie Farr & Gallagher LLP
Stripe, Inc.                                 Winston & Strawn LLP
Sullivan & Cromwell LLP                      Zoom Video Communications, Inc.
Target




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